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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Philip Charvat
                                Plaintiff,
v.                                                    Case No.: 1:12−cv−05746
                                                      Honorable Andrea R. Wood
Travel Services, et al.
                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 5, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Motion and Status hearing
held. For the reasons stated on the record, Plaintiff's motion to authorize claims
administrator [615] is granted. The parties shall send a word version of their revised
proposed order and draft notice to the Court's Proposed Order e−mailbox at
Proposed_Order_Wood@ilnd.uscourts.gov within 24 hours. Final approval hearing set for
4/4/2018 is stricken and reset for 7/24/2018 at 11:00 a.m. in front of Judge Andrea R.
Wood in courtroom 1925 of the Everett McKinley Dirksen Building, United States
Courthouse, 219 Dearborn Street, Chicago, Illinois. Mailed notice(ef, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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